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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

 JACKSONVILLE BRANCH OF THE
 NAACP; NORTHSIDE COALITION OF
 JACKSONVILLE, INC.; ACLU OF
 FLORIDA NORTHEAST CHAPTER;
 FLORIDA RISING TOGETHER, INC.;
 MARCELLA WASHINGTON; INGRID
 MONTGOMERY;             AYESHA
 FRANKLIN; TIFFANIE ROBERTS;
 ROSEMARY      McCOY;     SHELIA
 SINGLETON;   EUNICE    BARNUM;
 JANINE   WILLIAMS;      HARAKA
 CARSWELL; and DENNIS BARNUM,

       Plaintiffs,

 v.                                           Case No.: 3:22-cv-493-MMH-LLL

 CITY OF JACKSONVILLE, and MIKE
 HOGAN, in his official capacity as Duval
 County Supervisor of Elections,

       Defendants.

 __________________________________/

                     NOTICE OF APPEARANCE OF COUNSEL

      The undersigned attorney, Mohammad O. Jazil, of Holtzman Vogel Baran

Torchinsky & Josefiak PLLC, enters his appearance in this matter on behalf of

Defendants City of Jacksonville and Mike Hogan, in his official capacity as Duval

County Supervisor of Elections, and requests that copies of all filings and

correspondence be served on him at the address listed below.
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      Respectfully submitted this 18th day of October, 2022,

                                         /s/ Mohammad O. Jazil
                                         Mohammad O. Jazil (FBN 72556)
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                                         Tallahassee, Florida 32301
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                                         Telephone: (850) 270-5938
                                         Counsel for Defendants

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished on this 18th day of October 2022, via the CM/ECF system.

                                           /s/ Mohammad O. Jazil
                                           Mohammad O. Jazil
                                           Counsel for Defendants
